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UNITED STATES D|STR|CT C
DENVER, COLORADO OURT

lN THE UNITED sTATEs DISTRICT CoURT AUG l 7 2018
FoR THE DIsTRICT oF CoLoRADo JEF;~_R&Y ,, CGLWELL

CLERK
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Civil Action No.

 

(To be supplied by the court)

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WP“W Q»*'~£¢§‘Wv P» we k r»~“ ,Defendant<$>.
JAL,'<GMMnc(n¢/eowboz¢ 21,,-“/5

PRISONER'S MOTION AND AFFIDAVIT
FOR LEAVE TO PROCEED PURSUANT TO 28 U.S.C. § 1915

 

 

l request leave to commence this civil action Without prepayment of fees or security

therefor pursuant to 28 U.S.C. § 1915. In support of my request, I declare that:

l. lam unable to pay such fees or give security therefor
2. lam entitled to redress.

3. The nature of this action is:

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4. My assets and their value are listed below: (attach an additional page if necessary)

(Assets may include income from employment, rent payments, interest or dividends, pensions, annuities, life
insurance payments, Social Security, Veteran‘s Administration benefits, disability pensions, Worker‘s
Compensation, unemployment benefits, gifts or inheritances, cash, funds in bank accounts, real estate,
stocks, bonds, notes, automobiles or other valuable property (excluding ordinary household furnishings and
clothing), or any other source of income.) '

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`5. Are you in imminent danger of serious physical injury?

_X_Yes __No (CHECK ONE). Ifyou answered yes, briefly explain your answer:
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mike

6. Ihave attached to this motion a signed authorization directing my custodian to calculate
and disburse funds from my inmate trust fund account or institutional equivalent to pay
the required filing fee.

l houle l\lo ¢puy\¢l¢

7. Ihave attached to this motion a certificate from the appropriate official at each penal
institution in which l have been confined during the six-month period immediately
preceding the filing of this action and a certified copy of my inmate trust fund account
statement for the same six-month period.
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0"\ "\)/ bool<j
DECLARATION UNDER PENALTY OF PERJURY

l declare under penalty of perjury that the information in this motion and affidavit is true
and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed on X//j <,20/%

(Date)

(Prisoner’;/On`ginal Signature)

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